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                                                                                                 A
                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

 VANESSA BISSERETH                            §
                                              §
                 Plaintiff                    §    CAUSE NO. 1:25-cv-97
                                              §
 v.                                           §
                                              §
 BANK OF AMERICA, N.A. AND                    §
 JAVITCH BLOCK, LLC                           §
                                              §
                Defendants                    §
                                              §


                                      EXHIBIT INDEX


       Defendant Bank of America, N.A. hereby submits the following index of documents

being filed with its Notice of Removal to Federal Court:

       Exhibit A      Exhibit Index

       Exhibit B      State Court Civil Docket Sheet, with all Pleadings filed in State Court:

                      1) Plaintiff’s Original Petition (11.20.24)
                      2) Statement of Inability to Afford Payment of Court Costs or an Appeal
                          Bond (11.20.24)
                      3) Certificate of Legal-Aid Provider in Support of Statement of Inability
                          to Afford Payment of Court Costs or an Appeal Bond (11.20.24)
                      4) Order on the Plaintiff’s Statement of Inability to Afford Payment of
                          Costs (11.27.24)
                      5) Email to Court from Plaintiff Requesting Update on Statement of
                          Inability to Afford Payment of Court Costs or an Appeal Bond
                          (12.13.24)
                      6) Citations (12.17.24)
                      7) Defendants’ Original Answer (12.30.24)
                      8) Plaintiff’s Motion to Allow Discovery and Apply the Texas Rules of
                          Evidence (12.30.24)
                      9) Order Granting Plaintiff’s Motion to Allow Discovery/Denying
                          Motion to Apply the Rules of Evidence (1.7.25)
                      10) Plaintiff’s Jury Demand (1.7.25)
                      11) Notice of Pretrial Conference (1.9.25)
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Exhibit C   List of All Attorneys

Exhibit D   Civil Action Coversheet JS 44

Exhibit E   Supplement to JS 44 Civil Action Coversheet

Exhibit F   Proof of Service of Process on Bank of America, N.A.
